Case 4:21-cv-00058-ALM-KPJ
         Case 1:21-cv-00208-JLS
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                   UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF NEW YORK

                                        )
 Kevin Nightingale and                  ) Case No.:
 Nightingale Chiropractic &             )
 Wellness, P.C,                         )
                                        ) 1:21-cv-00208-JLS
                                        )
              Plaintiff,
                                        )
               v.                       )
                                        )
 Local Search Group, LLC,               )
              Defendant.                )

                           NOTICE OF SETTLEMENT

      TO THE CLERK:

NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have

reached settlement. The parties anticipate filing a stipulation of dismissal of this

action with prejudice pursuant to Fed. R. Civ. P. 41 (a) within sixty (60) days.



Dated: March 10, 2021                  /s/ Craig Thor Kimmel____________
                                       CRAIG THOR KIMMEL, ESQUIRE
                                       Kimmel & Silverman, P.C.
                                       30 E. Butler Pike
                                       Ambler, PA 19002
                                       Phone: (215) 540-8888
                                       Fax: (877) 788-2864
                                       Email: kimmel@creditlaw.com
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                        CERTIFICATE OF SERVICE

            I, Craig Thor Kimmel, Esquire, do certify that I served a true and

correct copy of the Notice of Settlement in the above-captioned matter, upon the

following via w:

                                Aaron M. Cohen, Esq.
                                 Aaron M. Cohen P.A.
                               110 Via D'Este, Suite 303
                                Delray Beach FL 33445
                                    (561) 542-5494
                              amc@aaronmcohenpa.com
                                Attorney for Defendant




                                     /s/ Craig Thor Kimmel____________
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